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 5
     Counsel for Defendant, DOUGLAS STORMS YORK
 6

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )              2 TO PERMIT ATTORNEY-
14                                         )             CONDUCTED VOIR DIRE
     vs.                                   )
15                                         )             Pretrial Conference: July 16, 2015
                                           )             Time: 2:00 p.m.
16                                         )
     DOUGLAS STORMS YORK,                  )             Trial Date: July 20, 2015
17                                         )
                       Defendant.          )
18   _____________________________________ )             Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

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26   \\\

     Def.’s Motion In Limine No. 2
     CR 15-00226 BLF                                 1
          Case5:15-cr-00226-EJD Document16 Filed07/02/15 Page2 of 2



 1                                             ARGUMENT

 2   I.      The Court Should Allow Attorney Conducted Voir Dire

 3           Pursuant to Rule 24(a) of the Federal Rules of Criminal Procedure, to provide effective

 4   assistance of counsel and to exercise Mr. York’s Sixth Amendment right to trial by an impartial jury,

 5   defense counsel requests the opportunity to personally voir dire the prospective members of the jury.

 6

 7                                            CONCLUSION

 8           For the foregoing reasons, and for such other reasons as may appear at the hearing on this

 9   motion, Mr. York respectfully requests that the Court grant his motion, and accord such other relief

10   as this Court deems just. Mr. York requests leave to file further motions as may be necessary.

11

12   Dated: July 2, 2015                                   Respectfully submitted,

13
                                                           STEVEN G. KALAR
14                                                         Federal Public Defender

15
                                                                s/
16                                                         GRAHAM ARCHER
                                                           Assistant Federal Public Defender
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     Def.’s Motion In Limine No. 2
     CR 15-00226 BLF                                  2
